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                                 UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                Plaintiff,

        v.                                                    Case No. 87-cr-40070-JPG

 EUGENE ALBERT FISCHER,

                Defendant.

                                    MEMORANDUM AND ORDER

       Pursuant to Federal Rule of Appellate Procedure 22(b)(1), the Court construes defendant Eugene

Albert Fischer’s (“Fischer”) notice of appeal (Doc. 930) as a request for a certificate of appealability. See

Ouska v. Cahill-Masching, 246 F.3d 1036, 1045 (7th Cir. 2001). Fischer wishes to appeal the Court’s

dismissal of his Rule 60(b) motion as an unauthorized successive petition under 28 U.S.C. § 2255. A §

2255 petitioner may not proceed on appeal without a certificate of appealability. 28 U.S.C. § 2253(c)(1);

see Ouska, 246 F.3d at 1045. A certificate of appealability may issue “only if the applicant has made a

substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2); see Tennard v.

Dretke, 542 U.S. 274, 282 (2004); Ouska, 246 F.3d at 1045. To make such a showing, the petitioner

must “demonstrate that reasonable jurists could debate whether [the] challenge in [the] habeas petition

should have been resolved in a different manner or that the issue presented was adequate to deserve

encouragement to proceed further.” Ouska, 246 F.3d at 1046; accord Tennard, 542 U.S. at 282; Slack v.

McDaniel, 529 U.S. 473, 484 (2000) (certificate of appealability should issue if the petitioner

demonstrates “that reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong.”) The Court finds that Fischer has not made such a showing and, accordingly,

DENIES Fischer’s request for a certificate of appealability (Doc. 930).

IT IS SO ORDERED.
DATED: May 31, 2007
                                              s/ J. Phil Gilbert
                                              J. PHIL GILBERT
                                              DISTRICT JUDGE
